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                          No. 23-10380

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


                   UNITED STATES OF AMERICA,

                                          Plaintiff-Appellee,

                                  v.

                        MARCEL MALLORY,

                                        Defendant-Appellant.


          On Direct Appeal from the United States District
             Court for the Northern District of Texas
                       Fort Worth Division


                 APPELLANT’S INITIAL BRIEF
                  Pursuant to Anders v. California


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                                        Counsel for Appellant
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                    CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities have an interest in the outcome of this case. These representations are

made in order that the judges of this Court may evaluate possible disqualification or

recusal.



Appellant:                  Marcel Mallory

Defense Counsel:            Samuel Ray Terry (trial)
                            Brandon Beck (appellate)

Appellee:                   United States

Prosecution:                U.S. Attorney’s Office for the Northern District of Texas
                            U.S. Department of Justice

District Judge:             The Honorable Reed C. O’Connor




                                                            /s/ Brandon Beck
                                                            Counsel for Appellant




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                STATEMENT REGARDING ORAL ARGUMENT

      I am not requesting oral argument. I have moved to withdraw pursuant to

Anders v. California, 386 U.S. 738 (1967). After careful review of the record, it is my

professional judgment that, in light of the appeal waiver, the case presents no

nonfrivolous issues for direct appeal.




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                         JURISDICTIONAL STATEMENT

       The district court had original jurisdiction over this case pursuant to 18 U.S.C.

§ 3231. This Court has appellate jurisdiction under 28 U.S.C. § 1291. Appellant filed

a timely notice of appeal on April 11, 2023 (ROA.64-65), which was twelve days after

the district court entered written judgment. (ROA.57-60).

                       ISSUES PRESENTED FOR REVIEW

 I.    Did the district court commit any reversible error by accepting Mr. Mallory’s

       guilty plea?

 II.   Does this case implicate any exceptions within Mr. Mallory’s appeal waiver?




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                            STATEMENT OF THE CASE

 I.    Facts and Proceedings Below

       On December 7, 2022, Marcel Mallory signed a factual resume as part of a

guilty plea to one count of Conspiracy to Possess with Intent to Distribute a

Controlled Substance (methamphetamine), in violation of 21 U.S.C. § 846, and 21

U.S.C. § 841(a)(1) and (b)(1)(B). (ROA.43-44). In his factual resume, Mr. Mallory

stipulated to facts supporting the essential elements of the offence. (ROA.44).

Specifically:

                From December 2021, through Oct. 2022, Marcel Mallory
                received methamphetamine from others, sometimes on
                consignment. In turn, Marcel Mallory distributed
                methamphetamine to others. In this manner, Marcel
                Mallory conspired with other to possess with intent to
                distribute more than 50 grams of methamphetamine.

(ROA.44).

       On November 16, 2022, Mr. Mallory pleaded guilty to the one-count

superseding information. (ROA.179). The Probation Office initially calculated his

advisory sentencing range, under the U.S. Sentencing Guidelines, at 360 to 480

months. (ROA.285). Mr. Mallory did not file any written objections to the

Presentence Report (PSR).

       On March 31, 2023, the district court held Mr. Mallory’s sentencing hearing.

(ROA.209-40). At the beginning of the hearing, Mr. Mallory’s trial attorney informed

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the court that Mr. Mallory wished to seek a continuance of the sentencing hearing

and wanted to raise objections to the PSR. (ROA.213). The primary reason for the

continuance was that Mr. Mallory only had access to his PSR for four days prior to

the sentencing hearing. (ROA.213). Defense counsel, however, attested that he did

review the PSR with Mr. Mallory for two hours prior to the hearing. (ROA.213-14).

      After conferring with counsel, Mr. Mallory proceeded with his oral objections

as the sentencing hearing. The focus of his objections was to the PSR’s drug quantity

calculation. First, Mr. Mallory argued that the PSR’s finding that he sold 56 ounces

of methamphetamine to Heather Thompson on four different occasions contradicted

her statement in her interview with the DEA that she the most she ever purchased

from Mr. Mallory was 52 ounces on a single occasion. (ROA.214-15). Second, Mr.

Mallory challenged the PSR’s drug conversion calculation, arguing that the “ghost

dope weight” should have been measured “in two kilograms for every gram, and then

the actual is supposed to be 20 kilograms for every gram.” (ROA.215).

      In response to Mr. Mallory’s challenge to the accuracy of the PSR’s drug weight

calculations, the government called DEA Agent Finney to testify. (ROA.217). Agent

Finney confirmed Ms. Thompson’s statement but explained that it was only the first

of a series of DEA interviews with Ms. Thompson. (ROA.218-20). According to Agent

Finney, Mr. Thompson, in a subsequent interview, admitted to four 56-ounce


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transactions, consistent with the PSR. (ROA.218-20). On cross-examination, Agent

Finney acknowledged that Ms. Thompson received a proffer agreement with the

government (ROA.222) and that witnesses (or co-conspirators) who receive a proffer

agreement will sometimes embellish their story in order to earn a 5K motion for

reduction in sentence. (ROA.223). Agent Finney also acknowledged that although

Brad Roberts (who purchased from Ms. Thompson) corroborated Ms. Thompson’s

accounts, he too was under a proffer agreement and hoped to receive a 5K motion

from the government. (ROA.224-25).

      Mr. Mallory next elected to testify. (ROA.226). He admitted to a single 52-

ounce transaction to Ms. Thompson but denied any other high-volume transactions,

stating instead that all subsequent transactions with Mr. Thompson involved smaller

amounts. (ROA.226-27). He also testified that he only had 15 total transactions with

Mr. Thompson, far fewer than the 80 transactions alleged in the PSR. (ROA.227). As

to the total drug weight, Mr. Mallory testified that he only sold Ms. Thompson 1,460

grams, not 6,500 grams as the PSR found. (ROA.227-28). All told, Mr. Mallory’s

testimony was that he was accountable for 6 kilograms less of drugs than what the PSR

claimed. (ROA.228-29).

      On cross-examination, the government asked Mr. Mallory to provide the name

of his supplier as well as the names of his other customers. (ROA.231-33). Mr. Mallory


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declined as to both. (ROA.231-33). At the conclusion of this testimony, the district

court found Agent Finney credible, Mr. Mallory dishonest, and revoked the PSR’s

reduction for acceptance of responsibility:

             After hearing the testimony, I find Agent Brian Finney’s
             testimony credible. He and his colleagues have
             corroborated, as he characterizes it, a lot of what this
             informant has to say and has provided.

             He also testified that it is his job and his colleagues’ job to
             include a screening or skeptical evaluation of information
             provided to him, screening or evaluating for any improper
             motives. That’s why it sounds like he and his colleagues
             worked to corroborate this information.

             I also find that the defendant, of course, has a motive to say
             these things. He’s looking at a heavy sentence. And it also
             is significant to me that he is withholding information that
             is relevant to this hearing at this hearing today, while under
             oath.

             And so, on balance, after considering all of this
             information, I find that the information contained in the
             PSR is true and correct and reliable and should be
             considered by me.

             I also find that the defendant has falsely provided false
             statements to these objections. So I find that he should not
             be entitled to acceptance of responsibility.

(ROA.233-34). This increased Mr. Mallory’s total offense level, under the guidelines,

to 42. (ROA.234). The government then moved for an obstruction-of-justice

enhancement, based on Mr. Mallory’s testimony, which the district court granted.


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(ROA.235). This increased Mr. Mallory’s total offense level to 43, the maximum

under the guidelines. (See ROA.235). After these two rulings, Mr. Mallory’s advisory

sentencing range increased from 360-480 months to simply the statutory maximum:

480 months. (ROA.235).

      After Mr. Mallory requested a 240-month sentence (ROA.235-36), the district

court sentenced him to 480 months imprisonment, followed by a 5-year term of

supervised release. (ROA.237-38). The court did not order a fine or restitution.

(ROA.237-38). As part of his plea, Mr. Mallory had signed a plea agreement that

included an appeal waiver. (ROA.256-60).

 II. Summary of the Argument

      After carefully reviewing the record and applicable law, I reluctantly conclude

that there is no basis upon which to pursue this appeal. Accordingly, I will move to

withdraw.

      The only areas in which arguable issues could arise would be: (1) the guilty plea

(the Rule 11 colloquy); (2) the sentencing; or (3) the appeal waiver. The record reveals

that the district court substantially complied with the Rule 11 requirements when

accepting Appellant’s plea. It also complied with the sentencing law when calculating

his guideline range and sentencing him to 480 months imprisonment followed by a

5-year term of supervised release. But even if some of the district court’s findings were


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in error, this case does not fit any of the exceptions enumerated in the appeal waiver.

See United States v. De Cay, 359 F. App’x 514, 515 (5th Cir. 2010) (“To determine

whether an appeal of a sentence is barred by an appeal waiver provision in a plea

agreement, we conduct a two-step inquiry: (1) whether the waiver was knowing and

voluntary and (2) whether the waiver applies to the circumstances at hand, based on

the plain language of the agreement.”).




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                                        ARGUMENT

 I.   The district court committed no reversible error in accepting Mr.
      Mallory’s guilty plea.

      Standard of Review: Where a defendant has preserved an objection, this Court

considers a district court’s “factual finding” that a guilty plea is knowing, voluntary,

and supported by an adequate factual basis “for clear error.” United States v.

Hildenbrand, 527, F.3d 466, 475 (5th Cir. 2008). But where a defendant raises no

objection, review is for plain error.

      Analysis: As explained in the attached Anders checklist, I can find no basis in

the record to argue that Appellant’s plea was anything other than knowing, voluntary,

and supported by an adequate factual basis. The district court complied with Rule 11

in all relevant respects. Therefore, in my professional judgment, Appellant could not

succeed on any challenge to his plea, on plain error or otherwise.

 II. The district court committed no error at sentencing that could fit
     within an exception to Mr. Mallory’s waiver of appeal.

      Standard of Review: Waivers of appeal are enforceable in this Circuit, provided

they are knowingly and voluntarily undertaken. United States v. White, 307 F.3d 336,

339 (5th Cir. 2002). Here, Mr. Mallory signed the plea agreement, with an appeal

waiver, on December 7, 2022 (ROA.256-60), and was duly advised of the waiver of

appeal provision at rearraignment. (ROA.154). He exchanged his right to appeal for


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consideration: an agreement not to bring additional charges and to dismiss any

outstanding charges. (ROA.258).

      Analysis: It should first be noted Counsel contacted the Government on

September 10, 2023, regarding the appeal waiver and the Government has since

confirmed that it would assert the waiver-of-appeal provision in the plea agreement.

      The Court determined that Appellant knew he was giving up his right to appeal

except for the circumstances set forth in paragraph 10 of the plea agreement:

             Waiver of right to appeal or otherwise challenge sentence:
             Defendant waives his rights, conferred by 28 U.S.C. § 1291
             and 18 U.S.C. § 3742, to appeal from his conviction and
             sentence. He further waives his right to contest his
             conviction and sentence in any collateral proceeding,
             including proceedings under 28 U.S.C. § 2241 and 28
             U.S.C. § 2255. Defendant, however, reserves the rights (a)
             to bring a direct appeal of (i) a sentence exceeding the
             statutory maximum punishment, or (ii) an arithmetic error
             at sentencing, (b) to challenge the voluntariness of his plea
             of guilty or this waiver, and (c) to bring a claim of ineffective
             assistance of counsel.

(ROA.259).

      It remains, therefore, only to determine whether any of the enumerated

exceptions to the appeal waiver apply. See United States v. De Cay, 359 F. App’x 514,

515 (5th Cir. 2010) (“To determine whether an appeal of a sentence is barred by an

appeal waiver provision in a plea agreement, we conduct a two-step inquiry:



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(1) whether the waiver was knowing and voluntary and (2) whether the waiver applies

to the circumstances at hand, based on the plain language of the agreement.”).

      The first exception allows for an appeal if the imposed sentence exceeds the

statutory maximum for the offense of conviction. Here, the statutory maximum

sentence was forty years imprisonment, which was the sentence actually imposed.

(ROA.58). Thus, the exception is not triggered.

      The second exception allows for an appeal to review arithmetic error. But the

record here does not reflect any such error.

      The third exception allows for an appeal of the voluntariness of the plea itself.

Mr. Mallory challenged the voluntariness of his plea in Motion to Appoint New

Counsel, mailed to the district court on March 30, 2023. (ROA.61-62). This Court

applies a two-step analysis to evaluate the voluntariness of a defendant’s plea: (1) did

the court deviate from Rule 11 at the rearraignment?; and (2) if so, did the error affect

the substantial rights of the defendant? United States v. Glinsey, 209 F.3d 386, 394 (5th

Cir. 2000); United States v. Johnson, 1 F.3d 296, 298 (5th Cir. 1993) (en banc). A court

deviates from Rule 11 by failing to address one of its “core concerns”: “(1) whether

the guilty plea was coerced; (2) whether the defendant understands the nature of the

charges; and (3) whether the defendant understands the consequences of his plea.”

Johnson, 1 F.3d at 300. Nothing on this record supports any such challenge because


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the court took great pains to comply with all of Rule 11’s requisites and questioned

Appellant about his desire to voluntarily plead to the offense. (ROA.117-18).

       The fourth and final exception to the appeal waiver allows Appellant to bring

a claim of ineffective assistance of counsel. As a general rule, this Court does not

review claims of ineffective assistance of counsel on direct appeal. United States v.

Haese, 162 F.3d 359, 363 (5th Cir. 1998) (“This Circuit generally does not allow claims

for ineffective assistance of counsel to be resolved on direct appeal when those claims

have not been presented before the district court, since no opportunity existed to

develop the record.”). An exception is made if the record below allows for a fair

evaluation of the merits of the claim. United States v. Higdon, 832 F.2d 312, 313-314

(5th Cir. 1987); Massaro v. United States, 538 U.S. 500, 508 (2003) (reserving this

exception for situations of “apparent” or “obvious” shortcomings of counsel). This

case does not fit into this exception because the record does not provide information

on the attorney’s trial strategies, the motivations behind his trial tactics, or the extent

of his investigations. As a result, this Court would not consider a claim of ineffective

assistance of counsel in this appeal. See Haese, 162 F.3d at 363. Appellant has reserved

the right to bring a claim of ineffective assistance of counsel in a motion pursuant to

28 U.S.C. § 2255, which provides him the appropriate vehicle to bring such a claim




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following the conclusion of this direct appeal. Furthermore, it would allow Appellant

to develop material outside the record to support any such claim.

                                  CONCLUSION

      Because I can identify no arguable issues upon which to predicate an appeal, I

must reluctantly move to withdraw. Even so, I stand ready to brief any potentially non-

frivolous issues this Court identifies through its review of my brief and the Record on

Appeal.

                                               Respectfully submitted,

                                               /s/ Brandon Beck
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                                               Counsel for Appellant




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                            CERTIFICATE OF SERVICE

       I, Brandon Beck, hereby certify that on October 15, 2023, the initial brief was

served via ECF email to counsel for the Respondent, Assistant U. S. Brian McKay. I

further certify that: 1) all privacy redactions have been made pursuant to 5th Cir. Rule

25.2.13; 2) the electronic submission is an exact copy of the paper document pursuant

to 5th Cir. Rule 25.2.1; and 3) the document has been scanned for viruses with the

most recent version of Norton Anti-virus and is free of viruses.

       I further certify that I have reasonably attempted to communicate, in a manner

and a language understood by the defendant: (i) that counsel has fully examined the

record and reviewed the relevant law and there are no meritorious issues for appeal;

(ii) that counsel has therefore moved to withdraw; (iii) that if granted, the motion will

result in dismissal of the appeal; but (iv) the defendant has the right to file a response,

in English, opposing counsel's motion within 30 days of the filing of counsel's

certificate of service. See United States v. Moreno-Torres, 768 F.3d 439 (5th Cir. 2014).

       I am also mailing a copy of this brief to Appellant at Marcel Ferdinan Mallory

#56854-177, USP Pollock, U.S. Penitentiary, P.O. Box 2099, Pollock, LA 71467

                                                 /s/ Brandon Beck
                                                 Counsel for Appellant




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                        CERTIFICATE OF COMPLIANCE

      Pursuant to 5th Cir. R. 32.3, the undersigned certifies this brief complies with

the type-volume limitations of Fed. R. App. P. 32(a)(7)(B).

1.    Exclusive of the exempted portions, this brief contains 3,069 words.

2.    This brief has been prepared in proportionately spaced typeface using Microsoft

      Word in Goudy Old Style typeface and 14 point font size.

3.    The undersigned understands that any material misrepresentations in this

      certificate may result in striking the brief and sanctions.

                                               /s/ Brandon Beck
                                               Brandon Beck




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                                           Appendix A

                                        ANDERS CHECKLIST

Provide citations to the record, including the presentence report (PSR), and to relevant authority,
where appropriate, in the right hand column to demonstrate compliance by the district court and/or
the parties.

                              GUILTY PLEA - FED. R. CRIM. P. 11
 (NOTE: May be pretermitted, per United States v. Garcia, 483 F.3d 289 (5th Cir. 2007), if the
 record reflects that the defendant does not wish to challenge the guilty plea)
 I. Advising and Questioning the Defendant - FED. R. CRIM. P. 11(b)(1)

 (A) risk of perjury                                                          ROA.109-10

 (B) right to plead not guilty or persist in not-guilty plea                  ROA.114-15
 (C) right to a jury trial                                                    ROA.114-15
 (D) right to counsel at trial and every other stage                          ROA.114-15

 (E) certain specific rights at trial                                         ROA.114-15

 (F) defendant’s waiver of trial rights                                       ROA.116

 (G) nature of the charge                                                      ROA.171-72

 (H) maximum possible penalty                                                 ROA.171-72

 (I) mandatory minimum penalty                                                 ROA.171-72

 (J) any applicable forfeiture                                                 ROA.171-72

 (K) court’s authority to order restitution                                    ROA.171-72

 (L) court’s obligation to impose a special assessment                         ROA.171-72

 (M) court’s obligation to calculate guidelines range and consider that         ROA.119-21
 range, possible departures, and other 18 U.S.C. § 3553(a) factors
 (N) terms of waiver of right to appeal or collaterally attack the sentence    ROA.259

 (O) risk of removal, denial of citizenship, and denial of future admission    n/a
 if convicted and not a U.S. citizen
 II. Voluntariness of Plea - Rule 11(b)(2)                                     ROA.117-18

 III. Plea’s Factual Basis - Rule 11(b)(3)                                     ROA.44

 IV. Judicial Consideration of Plea Agreement - Rule 11(c)(3)                 ROA.235
 (advisory to defendant if plea agreement is of specified type)
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V. Accepting Plea Agreement - Rule 11(c)(4)
(informing defendant that, to the extent agreement is of specified type,   ROA.235
the agreed disposition will be in the judgment)
VI. Enforcing Plea Agreement
(Government’s compliance with plea agreement, defense counsel’s             BB
certification whether government intends to enforce appeal waiver, and
validity of appeal waiver)
                        SENTENCING - FED. R. CRIM. P. 32
(NOTE: May be pretermitted if the record reflects a valid, enforceable sentencing waiver)
I. Rule 32(e)(2) (disclosing the PSR)                                      ROA.261

II. Rule 32(i)(1) (verifying that defendant and counsel read and
discussed the PSR and any addendum to the PSR and allowing counsel         ROA.212-13
to comment on PSR and sentencing matters)
III. Rule 32(i)(3) (findings on disputed matters)                          ROA.234-35, 238

IV. Rule 32(i)(4) (allowing counsel and defendant to speak)                ROA.235-37

V. Rule 32(j)(1) (advising defendant of any right to appeal and right to   ROA.239
appeal in forma pauperis)
VI. Rule 32(k)(1) (judgment correctly sets forth plea, offense(s) of       ROA.57-60
conviction, and sentence)
VII. Calculation of sentence
Offense level calculation
                                                                           ROA.270-71
(identify base offense level and any adjustments)
Criminal history calculation
                                                                           ROA.271-76
(identify prior convictions and any additional points)
Advisory guidelines range                                                  ROA.285

Statutory minimum or maximum, if any, term of imprisonment and
                                                                            ROA.285
supervised release
Fine range, if fine was imposed; see U.S.S.G. § 5E1.2, and findings on
fine and on defendant’s ability to pay; see id.; 18 U.S.C. §§ 3571 &       ROA.286
3572
Restitution, if any                                                        n/a

VIII. Imposition of sentence

Adequacy of reasons for sentence; 18 U.S.C. § 3553(c)                       ROA.237-39

Substantive reasonableness of sentence                                     ROA.237-39
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Absence of conflict between written judgment and oral
pronouncement of sentence, including with respect to special
conditions of supervised release, see United States v. Diggles, 957 F.3d   ROA.57-59, 238,
551 (5th Cir. 2020) (en banc)                                              288-89
